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         U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                         New Orleans Field Office
                                                                                       500 Poydras Street, Suite809
                                                                                           -New Orleans. LA 70130
                                                                                                   (504)635-2531
                                                                                          Website; www.eeoc.gov



                   DETERMINATION AND NOTICE OF RIGHTS
                        (This Notice replaces EEOC FORMS 161 & 161-A)

                                        Issued On: 08/23/2022
To: Ms. Joerica Brown
     15241 Schafer Avenue
     BATON ROUGE, LA 70816
Charge No: 461-2020-00110
EEOC Representative and email: Wayne Morgan
                               Federal Investigator
                                      wayne. morgan@eeoc. gov



                                DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute. This does not mean the claims have no merit. This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.

                              NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)

If you file a lawsuit based on this charge, please sign-m to the EEOC Public Portal and upload the
court complaint to charge 461-2020-00110.

                                               On behalf of the Commission,


                                               Digitally Signed By'-Rayford 0. Irvin
                                               08/23/2022
                                               Rayford 0. Irvin
                                               District Director
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Enclosure with EEOC Notice of Closure and Rights (01/22)




                               INFORMATION RELATED TO FILING SUIT
                              UNDER THE LAWS ENFORCED BY THE EEOC
  (This information relates to filing suit in Federal or State court under Federal law. If you also
 plan to sue claiming violations of State law, please be aware that time limits may be shorter and
            other provisions of State law may be different than those described below.)

IMPORTANT TIME LIMITS - 90 DAYS TO FILE A LAWSUIT

If you choose to file a lawsuit against the respondents) named in the charge of discrimination.,
you must file a complaint in court within 90 days of the date you receive this Notice. Receipt
generally means the date when you (or your representative) opened this email or mail. You should
keep a record of the date you received this notice. Once this 90-day period has passed, your
right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
attorney, you should do so promptly. Give your attorney a copy ofthisNotice» and the record of
your receiving it (email or envelope).

If your lawsuit includes a claim under the Equal Pay Act (EPA), you must file your complaint
in court within 2 years (3 years for willful violations) of the date you did not receive equal pay.
This time limit for filing an EPA lawsuit Is separate from the 90-day filing period under Title
VII, the ADA, GINA or the ADEA referred to above. Therefore, If you also plan to sue under
Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA claim, your lawsuit
must be filed within 90 days of this Notice and within the 2- or 3-year EPA period.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
Whether you file in Federal or State court is a matter for you to decide after talking to your
attorney. You must file a "complaint" that contains a short statement of the facts of your case
which shows that you are entitled to relief. Filing this Notice is not enough. For more information
about filing a lawsuit, go to https://www.eeoc.gov/employees/lawsuit.cfm.

ATTORNEY REPRESENTATION

For information about locating an attorney to represent you, go to:
https://www.eeoc.goy/employees/lawsuit.cfm.

In very limited circumstances, a US. District Court may appoint an attorney to represent individuals
who demonstrate that they are financially unable to afford an attorney.

HOW TO REQUEST YOUR CHARGE FILE AND 90-DAY TIME LIMIT FOR REQUESTS

There are two ways to request a charge file: 1) a FOIA Request or 2) a Section 83 request. You may
request your charge file under either or both procedures. EEOC can generally respond to Section 83
requests more promptly than FOIA requests.

Since a lawsuit must be filed within 90 days of this notice, please submit your request for the charge
file promptly to allow sufficient time for EEOC to respond and for your review. Submit a signed
written request stating it is a FOIA Request or a "Section 83 Request" for Charge Number 461-
2020-00110 to the District Director at Rayford 0. Irvin, 1919 Smith Street 6th Floor
Houston, TX 77002.

You can also make a FOIA request online at https://eeoc.arkcase.com/foia/portaVlogm.
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EEOC Form 5 (11/09)

                                                                                                                               AQency(ies) Charge
                      CHARGE OF DISCRIMINATION                                                Charge Presented To:
                                                                                                                               No(s):
       This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                         FEPA
              Statement and oitier information before completing Eh!s form.
                                                                         x EEOC                                                  461-2020-00110
                                              LOUISIANA COMMISSION ON HUMAN RIGHTS                                                           and EEOC
                                                                  State or local Agency, if any

Name (Indicate Mr., Ms., Mrs.)                                                                                   Home Phone               Year of Birth

MS.JOERICA BROWN                                                                                           (225) 907-8903
Street Address City. State and ZIP Code

15241 SCHAFERAVE. BATON ROUGE, LA 70816

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That! Beiieve Discriminated Against Me or Others. (If more than two, fist under PARTICULARS below.}
Name                                                                                                  No. Empioyees, Members            Phone No.

AMESBURY                                                                                                                          (225) 757-7111
Street Address City, State and ZIP Code

400 CONVENTION STREET, SUITE 1050 Jl CITT PLAZA, BATON ROUGE, LA 70802

Name                                                                                                  No. Empioyees, Members            Phone No.



Street: Address                                                          City, State and ZIP Code




DISCRIMINATION BASED ON (Check appropriate f)ox(es).)                                                            DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                      Earliest Latest

         RACE | 1 COLOR                   Xl SEX               RELIGION               NATIONAL ORIGIN             09-04-2019 09-29-2019
             RETALIATION                AGE          DiSABILITf                 GENETSC INFORMATION

                      OTHER (Specify)                                                                                          CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)}:
 My employment as Property Manager began November 2017 with Greystone who was purchased by
 Sunridge and effective June 2019 Sunridge was purchased by Amesbury. On June 23, 2019,1 was placed
 on maternity leave with an anticipated return date of September 14, 2019.1 would ia£er learn that on or
 about August 6th or 7th another female was hired to perform my duties. After several attempts to return
 to work I was advised on September 29,2019 that I was no longer employed because they had no where
 to place me. The company employs more than 15 persons.

  I believe i was discriminated against because of my sex/pregnancy and replaced while on maternity
 leave in violation of Title VII of The Civil Rights Act of 1964, as amended.




! want this charge filed with both the EEOC and the State or local Agency,           NOTARY - When necessary for State and Local Agency Requirements
if any. 1 Will advise the agencies if 1 change my address or phone number
and t will cooperate fuily with them in the processing of my charge in
accordance with their procedures.                                                    I swear or affirm that I have read the above charge and that it
I declare under penalty of perjury that the above is true and correct.               is true to the best of my knowledge, information and belief.
                                                                                     SIGNATURE OF COMPbMNANT



  Digitally signed byjoerica Brown on 01-06-2020 12:07 PM                            SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                        EST                                          {month, day, year}
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CP Enclosure with EEOC Form 5 (11/09)

PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to
request personal data and its uses are:

1. FORM NUMBER/TITL^/DATC. EEOC Form 5, Charge of Discrimination (11/09).

2. AimORtrr. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C.
2000ff-6.

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise
reduced to writing (whether later recorded on this form or not) are, as applicable
under the EEOC anti-discrimination statutes (EEOC statutes), to preserve private suit
rights under the EEOC statutes, to invoke the EEOC's jurisdiction and, where duai-
filing or referral arrangements exist, to begin state or local proceedings.

4. ROUTINE USES. This form is used to provide facts that may establish the existence
of matters covered by the EEOC statutes (and as applicable, other federal, state or
local laws), information given wiil be used by staff to guide its mediation and
investigation efforts and, as applicable, to determine, conciliate and litigate claims of
unlawful discrimination. This form may be presented to or disclosed to other federal,
state or locaf agencies as appropriate or necessary in carrying out EEOC's functions.
A copy of this charge will ordinarily be sent to the respondent organization against
which the charge is made.

5. WHETHER DISCLOSURE is MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must
be reduced to writing and should identify the charging and responding parties and the
actions or policies complained of, Without a written charge, EEOC will ordinarily not
act on the complaint. Charges under Title VII, the ADA or GINA must be sworn to or
affirmed (either by using this form or by presenting a notarized statement or unsworn
declaration under penalty of perjury); charges under the ADEA should ordinarily be
signed. Charges may be clarified or amplified later by amendment. It is not
mandatory that this form be used to make a charge.

                           NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-
files charges with EEOC will ordinarily be handled first by the FEPA. Some charges
filed at EEOC may also be first handled by a FEPA under worksharing agreements.
You will be told which agency will handle your charge. When the FEPA is the first to
handle the charge, it will notify you of its final resolution of the matter. Then, if you
wish EEOC to give Substantial Weight Review to the FEPA's final findings, you must
ask us in writing to do so within 15 days of your receipt of its findings. Otherwise, we
wilt ordinarily adopt the FEPA's finding and close our file on the charge,

                                        NOTICE OF NON-RFTALIATON REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if
retaliation is taken against you or others who oppose discrimination or cooperate in
any investigation or lawsuit concerning this charge. Under Section 704(a) of Title VII,
Section 4(d) of the ADEA, Section 503(a) of the ADA and Section 207(f) of G!NA, it is
unlawful for an emp/oyerto discriminate against present or former employees or job
applicants, for an employment agency 'to discriminate against anyone, or for a union
to discriminate against its members or membership applicants, because they have
opposed any practice made unlawful by the statutes, or because they have made a
charge, testified, assisted, or participated in any manner in an investigation,
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proceeding, or hearing under the laws. The Equa! Pay Act has similar provisions and
Section 503(b) of the ADA prohibits coercion, intimidation, threats or interference with
anyone for exercising or enjoying, or aiding or encouraging others in their exercise or
enjoyment of, rights under the Act.
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                    U.S. Equal Employment Opportunity Commission
                                     New Orleans Field Office Hale Boggs Federal Building
                                                                     500 Poydras Street, Room 809
                                                                            New OrleQns,LA, 70130
                                                                                  (504) 635-2579
                                                                              TTY (800) 569-6820
                                                                              Fax: (504) 595-2884

                                 AGREEMENT TO MEDIA T£

CHARGE NUMBER: 461-2020-00110
FEPA NUMBER:

Charging Party: Ms. joerica Brown
Respondent: AME5BURY

This is an agreement by the above parties to participate in mediation in the above
referenced charge. The parties understand that mediation is a voluntary process, which may
be terminated at any time. The parties and, if they desire, their representatives and/or
attorneys, are invited to attend a mediation session. No one else may attend without the
permission of the parties and the consent of the mediator(s).
The mediator(s) will not function as the representative of either party. However, the
medfator(s) may assist the parties in cratting a settlement agreement. Each party
acknowledges being advised to seek independent legal review prior to signing any
settlement agreement. The parties acknowledge that they have received a copy of the
Mediation Fact Sheet. The parties acknowledge that the mediators) possesses the
discretion to terminate the mecfiation at any time if an impasse occurs or either party or the
mediator deems the case inQppropriate for mediation.
The parties acknowledge that participation in the scheduled mediation does not constitute
an admission by either party of any wrongdoing or of a violation of the laws enforced by
EEOC. Furthermore, the Charging Party acknowledges that participation In the scheduled
mediation by the Respondent does not commit the Respondent to providing a monetary
resolution of the matter.
The parties recognize that mediation is a confidential process and agree to abide by the
terms of the attached Conftdentiaiity Agreement. The parties acknowledge that if a
settlement is reached as a result of the mediation, the assigned mediator(s) is required to
report to EEOC any benefits received. This information is reported only for purposes of
providing aggregate data to the EEOC for mediation program evaluation purposes, and the
individual terms of the agreement will not be disclosed to the public.

Signed cfigitaHy byjoehca Brown 02-04-2020 02:16 PM EST
Charging                                   Party                      Date
Ms. joerica Brown
Phone: / Cell Phone:(225) 907-8903
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                    U.S. Equal Employment Opportunity Commission
                                     New Orleans Field Office Hale Boggs Federal Buildmg
                                                                      500 Poydras Street, Room 809
                                                                             New Orteans.lAJ0130
                                                                                    (504) 635-2579
                                                                               m' (800) 669-6820
                                                                               Fax: (504) 595-2884

                              CONF/DENTIAUT^ AGREEMENT

EEOC NUMBER: 461-2020-00110
1. I agree to participate voluntarily in mediation in an effort to resoive the charge(s) filed
with the EEOC.
2. / agree that aff matters discussed during the mediation are confidential, unless otherwise
d'sscoverabfe, and cannot be used as evidence in any subsequent administrative orjudiciai
proceeding. Confidentiality, however, will not extend to threats of/mminent physical harm
or incidents of actual violence that occur during the mediation.
3. Any communications between the ADR Coordinator and the mediator(s) and/or the parties
are considered dispute resolution communications with a neutral and wifl be kept
confidentsaf.

4. / agree not to subpoena the medlator(s) or compel the mecfiator(s) to produce any
documents provided by a party in any pending or future administrative or judicial
proceeding. The medlator(s) will not voiuntahfy testify on behalf of a party in any pending or
future administrative or judicial proceeding. The parties further agree that the mediator(s)
will be held harmless for any claim arising from the mediation process.
5. Mediation sessions w}{! not be tape-recorded or transcribed by the EEOC, the mediator or
any of the participants. All information including aff notes, records, or documents generated
during the course of the mediation shall be destroyed at the conclusion of the session.
Parties or their representatives are not prohibited from retaining their own notes. However,
EEOC will not maintain any such notes or records as part of its record keeping procedures.
6. If a settlement is reached by all the parties, the agreement shall be reduced to writing
and when signed shall be binding upon all parties to the agreement ff the charge(s) is not
resolved through mediation, it is understood by the parties that the charge(s) will be
transferred to the investigative unit for further processing,

Signed digstaUy byjoen'ca Brown 02-04-2020 02:16 PM EST
Charging                                   Party                       Date
Ms. Joen'ca Brown
